






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00542-CV






In re Hsing Sarah Han







ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N




	Relator Hsing Sarah Han has filed her motion for emergency relief and petition for
writ of mandamus.  We overrule the motion and deny the petition for writ of mandamus.  See Tex.
R. App. P. 52.8(a).



					                                                                                    

					Bea Ann Smith, Justice

Before Justices Kidd, B.A. Smith and Puryear


Filed:   September 19, 2003


